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                      IN THE UNITED STATES DISTRICT COURT                       JUL 1 B 2019
                         FOR THE EASTERN DISTRICT OF TEXAS                  Clerk, U.S. District Court
                                 SHERMAN DIVISION                                 Texas Eastern


UNITED STATES OF AMERICA                     §
                                             §
v.                                           §           No. 4:19CR
                                             §           Judge Mazzant
CHRISTOPHER SCHAEDER                         §
                             ELEMENTS OF THE OFFENSE

       Defendant Christopher Schraeder is charged in Count One of an Information

with a violation of 18 U.S.C. § 1955, conducting a gambling business that violates Texas

state law. The essential elements which must be proved beyond a reasonable doubt in

order to establish a violation of that section are:

       1. The defendant conducted, financed, managed, supervised, directed or
             owned all or part of a gambling business; and

       2. That such gambling business:

              a. Violated the laws of the state in which it was conducted, namely, Texas;
                  and

              b. Involved five or more perspns who conducted, financed, managed,
                  supervised, directed or owned all or part of said illegal gambling
                  business; and

              c. has been or remained in substantially continuous operation for more
                  than 30 days, or had a gross revenue of $2,000 or more on any single
                  day.
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                                        Respectfully submitted,

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                                Certificate of Service

      I certify that a copy of the foregoing was sent via CM/ECF to Frank Henderson,
counsel for defendant, on July 1, 2019.




                                        M. ANDREW STOVER
